      Case 3:14-cr-00004-MCR       Document 120       Filed 03/07/14   Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION


UNITED STATES OF AMERICA,

v.                                              Case No.: 3:14cr4/MCR

ORAN E. DIXON
                                    /

                         ACCEPTANCE OF PLEA OF GUILTY
      Pursuant to the Report and Recommendation of the United States Magistrate
Judge, to which there have been no timely objections, and subject to this Court’s
consideration of the Plea Agreement pursuant to Fed. R. Crim. P. 11, the plea of guilty of
Defendant ORAN E. DIXON to Count I of the Indictment is hereby ACCEPTED. All parties
shall appear before this Court for sentencing as directed.
      DONE and ORDERED this 7th day of March, 2014.



                                          s/   M. Casey Rodgers
                                         M. CASEY RODGERS
                                         CHIEF UNITED STATES DISTRICT JUDGE
